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 1   Steven J. Serbalik, Bar #028191
     STEVEN J. SERBALIK, P.L.C.
 2
     4925 E. Desert Cove Ave #116
 3   Scottsdale, Arizona 85254
     Telephone: (480) 269-1529
 4   steveserbalik@gmail.com
 5   Attorney for Plaintiffs Juan Hernandez and
     the Arizona Conference of Police and
 6   Sheriffs, Inc.
 7
                               UNITED STATES DISTRICT COURT
 8                                 DISTRICT OF ARIZONA
 9   Juan Hernandez, individually, Mark                    NO. 2:19-CV-05365-PHX-MTL
10   Schweikert, individually and the Arizona
     Conference of Police and Sheriffs, an Arizona         AMENDED COMPLAINT AND
11   nonprofit corporation,                                PETITION FOR A PERMANENT
                                             Plaintiffs,   INJUNCTION
12
                    v.
13   The City of Phoenix, a municipal corporation;
     Jeri Williams, in her official capacity as Chief
14   of Police of the Phoenix Police Department;
15   and Shane Disotell, in his official capacity as
     the Commander of the Phoenix Police
16   Professional Standards Bureau,
17
                                           Defendants.
18          Plaintiffs Juan Hernandez, Mark Schweikert, and the Arizona Conference of Police
19   and Sheriffs (“AZCOPS”) (collectively where appropriate the “Plaintiffs”) for their
20   Complaint against the City of Phoenix, Jeri Williams and Shane Disotell, (collectively
21   where appropriate the “Defendants”) allege as follows:
22                             JURISDICTIONAL ALLEGATIONS
23          1.     Jurisdiction is appropriate pursuant to 28 U.S.C. §1331 because Plaintiffs
24   bring this action pursuant to 42 U.S.C. §1983 and the First and Fourteenth Amendments
25   of the United States Constitution. This Court also has supplemental and/or pendent
26   jurisdiction over state constitutional, common law and statutory claims pursuant to 28
27   U.S.C. §1367.
28
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 1          2.     This Court has jurisdiction of Plaintiffs’ federal law claims pursuant to 28
 2   U.S.C. §1331 and 42 U.S.C. §1988. Additionally, this Court has jurisdiction over
 3   Plaintiffs’ state and federal claims pursuant to Article 6, Section 14 of the Arizona
 4   Constitution. Plaintiffs seek injunctive relief.
 5          3.     Venue is proper in this Court pursuant to A.R.S. §12-401 and 28 U.S.C.
 6   §1391 as the parties are residents and entities of Maricopa County and Pima County and
 7   the events underlying this lawsuit occurred in Maricopa County, an area wholly within the
 8   District of Arizona. All parties are residents of and/or are doing business in Arizona.
 9                                  GENERAL ALLEGATIONS
10          4.     Plaintiffs reallege and incorporate, by this reference, their claims, facts and
11   allegations in the paragraphs above as if set forth fully herein.
12          5.     Defendant City of Phoenix is a governmental entity that acts through its
13   employees, agents and independent contractors, including Defendants Jeri Williams and
14   Shane Disotell.
15          6.     Defendant Jeri Williams is the duly-appointed Police Chief of the City of
16   Phoenix and the head of the Phoenix Police Department (“Phoenix PD”), with ultimate
17   authority and responsibility to establish policy, practices, customs, procedures, protocols
18   and training for the Phoenix PD as an official policymaker. Her actions and/or inactions in
19   his official capacity constitute actions of the Phoenix PD and the City of Phoenix is
20   vicariously and directly liable for her wrongful conduct as alleged herein. As the
21   appointed Police Chief, Williams has official, vicarious, direct and supervisory liability
22   for the Phoenix PD’s officers, agents and employees.
23          7.     Defendant Shane Disotell is the duly-appointed Commander of the City of
24   Phoenix Police Department’s Professional Standards Bureau. In this role, he transmits
25   reports and recommendations to Chief Williams and other officials in the City of Phoenix,
26   who rely upon his actions and recommendations in deciding on disciplinary actions and
27   policy interpretations. His actions and/or inactions in his official capacity constitute
28   actions of the City of Phoenix and the City of Phoenix is vicariously and directly liable for

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 1   his wrongful conduct as alleged herein.
 2          8.        Plaintiff AZCOPS is a statewide organization dedicated to fair
 3   representation of law enforcement officers located around the State of Arizona. Plaintiffs
 4   Hernandez and Schweikert are AZCOPS members, and AZCOPS therefore provides
 5   Plaintiffs Hernandez and Schweikert with legal representation and incurs costs and fees
 6   associated with this representation.
 7                         ALLEGATIONS COMMON TO ALL COUNTS
 8               Juan Hernandez’s Employment with the Phoenix Police Department
 9          9.        Plaintiff Juan Hernandez is a Phoenix Police Sergeant and a state-certified
10   peace officer.
11          10.       Since prior to September 30, 2013 through today, Hernandez maintained a
12   Facebook profile.
13          11.       Plaintiff Hernandez’s Facebook postings, at all times relevant to this
14   Complaint, were made exclusively in his private, personal capacity.
15          12.       At no time relevant to this Complaint did Plaintiff Hernandez serve as a
16   Phoenix Police or City of Phoenix spokesman.
17          13.       As an employee of the Phoenix Police Department, Plaintiff Hernandez is
18   responsible for obeying any lawful City of Phoenix Administrative Regulations and any
19   lawful Phoenix Police Operations Orders.
20          14.       On or about August 14, 2012, Plaintiff Hernandez posts a news article
21   opening with the sentence “Recent VIOLENCE against peaceful pro-life demonstrators
22   are BURIED by the news media in favor of coverage for Tom Cruise and Katie Homes’
23   divorce.” This posting is attached to this Complaint as Exhibit 1, and incorporated as if
24   fully set forth herein.
25          15.       On or about September 12, 2012, Plaintiff Hernandez posts a news article
26   titled “Islamists Drag Dead Body of US Ambassador in the Streets.” This posting is
27   attached to this Complaint as Exhibit 2, and incorporated as if fully set forth herein.
28          16.       On or about August 1, 2013, the Phoenix Police Department’s Social Media

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 1   Policy (the “PD policy”) goes into effect. The PD policy is attached to this complaint as
 2   Exhibit 3, and incorporated as if fully set forth herein.
 3          17.      On September 30, 2013, Plaintiff Hernandez posts a meme, beginning with
 4   the statement “The Most Common Name for a Convicted Gang Rapist in England
 5   is…Muhammed.” This posting is attached to this complaint as Exhibit 4, and incorporated
 6   as if fully set forth herein.
 7          18.      On October 8, 2013, Plaintiff Hernandez posts a meme titled “You just got
 8   to love the Brits.” This posting is attached to this complaint as Exhibit 5, and incorporated
 9   as if fully set forth herein.
10          19.      On December 24, 2013, Plaintiff Hernandez posts a meme titled “Recent
11   Contributions to Science by Muslims.” This posting is attached to this complaint as
12   Exhibit 6, and incorporated as if fully set forth herein.
13          20.      On January 1, 2014, Plaintiff Hernandez posted a news article titled “Real
14   Footage – Cops Shoot Thug in the Head.” There appears to have been a picture in the
15   initial posting, but it does not appear in the reposting or in the Phoenix PD’s investigation.
16   This posting is attached to this complaint as Exhibit 7, and incorporated as if fully set
17   forth herein.
18          21.      On January 1, 2014, Plaintiff Hernandez posted a news article titled
19   “Congress Throws Veterans Under the Bus for Illegal Immigrants.” This posting is
20   attached to this complaint as Exhibit 8, and incorporated as if fully set forth herein.
21          22.      On January 9, 2014, Plaintiff Hernandez posted a news article titled “The
22   End of Christians in the Muslim World.” This posting is attached to this complaint as
23   Exhibit 9, and incorporated as if fully set forth herein.
24          23.      On January 9, 2014, Plaintiff Hernandez posted a news article titled
25   “Military Pensions Cut, Muslim Mortgages Paid by US.” This posting is attached to this
26   complaint as Exhibit 10, and incorporated as if fully set forth herein.
27          24.      On February 7, 2014, Plaintiff Hernandez posted a news article titled
28   “Young Christian Girl Repeatedly Raped by 15 Muslims Then Murdered.” This posting is

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 1   attached to this complaint as Exhibit 11, and incorporated as if fully set forth herein.
 2          25.    On March 27, 2014, Plaintiff Hernandez posted a news article titled “Two
 3   Christians Beheaded in New Jersey by Muslim Man: Media, Silent!” This posting is
 4   attached to this complaint as Exhibit 12, and incorporated as if fully set forth herein.
 5          26.    On or about June 1, 2019, the Plain View Project releases social media posts
 6   made by selected police officers onto a public website – accessible at the time of this
 7   complaint at www.plainviewproject.org
 8          27.    The Plain View Project’s website, at all times relevant to this complaint,
 9   includes the following language: “To be clear, our concern is not whether these posts and
10   comments are protected by the First Amendment. Rather, we believe that because
11   fairness, equal treatment, and integrity are essential to the legitimacy of policing, these
12   posts and comments should be part of a national dialogue about police.”
13          28.    Exhibits 1-2 and 4-12 were included in the Plain View Project’s database
14   published on the Plain View Project website.
15          29.    On or about June 3, 2019, the Phoenix Police Department’s Professional
16   Standards Bureau initiated an internal investigation (the “PSB investigation”).
17          30.    Upon information and belief, prior to the Plain View Project publication, no
18   member of the Phoenix Police Department had faced significant discipline (suspension,
19   demotion and/or termination) based upon the PD policy as applied to private postings on
20   any social media platforms.
21          31.    Despite the fact that the Facebook posts were online for years, prior to the
22   Plain View Project publication, no one from the Phoenix Police Department or the City of
23   Phoenix ever identified Plaintiff Hernandez’s postings as alleged violations of any PPD or
24   Phoenix policy.
25          32.    On or about June 5, 2019, Plaintiff Hernandez received a Notice of
26   Investigation alleging that he violated the PPD Social Media Policy.
27          33.    On or about the same date that Plaintiff Hernandez received the Notice of
28   Investigation, he set his Facebook profile to “private” and, fearing potential additional

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 1   disciplinary action, he ceased reposting any news articles.
 2          34.      On or about June 20, 2019, Plaintiff Hernandez was interviewed, as a
 3   condition of his employment, as part of the PSB investigation. A copy of the transcript of
 4   the interview is attached to this complaint as Exhibit 13, and incorporated as if fully set
 5   forth herein.
 6          35.      During his interview, the PSB investigation only focused on four of Plaintiff
 7   Hernandez’s Facebook posts – those identified in this complaint as Exhibits 4, 5, 6 and 10.
 8          36.      During his interview, Plaintiff Hernandez explained that he was simply
 9   reposting content that he felt involved matters of public concern.
10          37.      The PSB investigators did not provide any information as to why these
11   particular posts were alleged to have been a violation of the PD policy, when the posts
12   contained in Exhibits 1-2, 7-9, and 11-12 were not.
13          38.      Exhibit 4 includes information that was widely covered in mainstream
14   media discussing shifting demographics (and common male names in the United
15   Kingdom) as demonstrated in Exhibit 14.
16          39.      Exhibit 6 includes information that was widely covered in mainstream
17   media discussing statements issued by certain prominent individuals, as demonstrated in
18   Exhibit 15.
19          40.      Exhibit 10 is a link to an article discussing government spending priorities, a
20   quintessential example of a matter of public concern.
21          41.      For all Facebook posts related to this matter (Exhibits 1-2 and 4-12),
22   Plaintiff Hernandez did not “comment” on or “create” the content at issue. He simply
23   reposted content that he identified as part of ongoing public dialogue on matters that he
24   wanted to discuss further with his friends, family and associates.
25          42.      On August 17, 2019, the Phoenix PD transmitted a “draft investigation” that
26   would sustain Plaintiff Hernandez for violating the PD Policy with a “Class III”
27   disciplinary classification contemplating a suspension of 40, 80, or 240 hours without pay,
28   and/or demotion/termination.

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 1          43.     After receiving the draft investigation, on or about August 26, 2019,
 2   Plaintiff Hernandez, through counsel, advised Defendants that attempting to discipline
 3   Plaintiff Hernandez for discussing matters of public concern has a chilling effect on
 4   Plaintiff Hernandez and members Plaintiff AZCOPS, and that proceeding with discipline
 5   could result in legal action.
 6          44.     On or about September 4, 2019, and “investigative review process” meeting
 7   was held with Plaintiff Hernandez and his representatives (who are members of Plaintiff
 8   AZCOPS) and Defendant Disotell and other members of the PSB investigation team.
 9          45.     Lt. Brian Thatcher, a member of Plaintiff AZCOPS and a union
10   representative of Plaintiff Hernandez, asked pre-prepared questions (attached as Exhibit
11   16 and incorporated as if fully set forth herein) and subsequently authored a
12   contemporaneous memo documenting the answers received by Defendant Disotell and
13   other members of the PSB investigative team (attached as Exhibit 17 and incorporated as
14   if fully set forth herein).
15          46.     At the investigative review process meeting, Defendant Disotell
16   acknowledged that the discipline contemplated for Plaintiff Hernandez was based
17   exclusively on PD policy, not on the Phoenix Administrative Regulation addressing social
18   media use.
19          47.     Defendant Disotell further stated that the disciplinary finding that Plaintiff
20   Hernandez brought “discredit to the [Phoenix Police] department” used to justify the
21   imposition of discipline was based upon the collective impact of the Plain View Project,
22   and not exclusively on Plaintiff Hernandez’s Facebook posts.
23          48.     Defendant Disotell and other PSB personnel present at the investigative
24   review process meeting were not familiar with the implications or balancing tests related
25   to free speech from public employees on matters of public concern.
26          49.     Defendant Disotell and other PSB personnel present at the investigative
27   review process meeting were unable to provide any examples of any situations in which
28   Plaintiff Hernandez acted without “moral integrity” or failed to “work cooperatively,

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 1   courteously, but firmly with all segments of the public” (quotations from the discipline
 2   investigation) other than the Facebook posts that were the focus of the investigation.
 3          50.    When asked if the conclusions contained in the PSB investigation were
 4   based on individual posts or a broader assessment of the Plain View Project, Defendant
 5   Disotell and other PSB representatives present stated that the Plain View Project cases
 6   were viewed as a collective and that the determination to discipline and the degree of
 7   discipline was based upon the collective impact of all of the posts from all of the impacted
 8   employees.
 9          51.    On October 2, 2019, Plaintiff Hernandez was notified that a Discipline
10   Review Board would be convened to review the results of the PSB investigation and to
11   make a discipline recommendation to Chief Williams. The Discipline Review Board
12   considered this matter on February 20, 2020 and was unable to reach a consensus on a
13   discipline recommendation to be forwarded to Chief Williams. Recommendations from
14   Board members ranged from a written reprimand to termination, and a 40-hour suspension
15   recommendation was forwarded to Chief Williams by the Board Chair.
16          52.    The Discipline Review Board is led by an assistant chief, and is also
17   composed of commanders, peers (sergeants) and civilians.
18          53.    The Discipline Review Board reviews the written investigation, is briefed
19   by PSB personnel and union representatives, and is allowed to ask questions of
20   investigators and union representatives.
21          54.    Without this Court’s intervention, members of the Discipline Review Board
22   were instructed that Plaintiff Hernandez’s posts are not protected and are the proper basis
23   for discipline.
24          55.    Because the vast majority of PPD Sergeants and Lieutenants are members of
25   Plaintiff AZCOPS, this instruction, as part of an official disciplinary process, would have
26   a further chilling effect on the ability of AZCOPS members to exercise their First
27   Amendment rights to comment on matters of public concern (see, e.g., attached Exhibit
28   18, Declaration of Lt. Mark Schweikert – incorporated as if fully set forth herein).

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 1              Mark Schweikert’s Employment with the Phoenix Police Department
 2             56.    Plaintiff Mark Schweikert is a Phoenix Police Lieutenant and state-certified
 3   peace officer.
 4             57.    Schweikert actively maintains a Facebook profile which he uses in his
 5   private capacity.
 6             58.    Upon learning of the Phoenix Police Department’s Social Media Policy,
 7   Operations Order 3.27, and of the Phoenix Police Department’s intent to discipline
 8   officers after the investigation sparked by the Plain View Project, Schweikert now is no
 9   longer able to discern what posts may be considered violations of the Department’s
10   policy.
11             59.    As a result, Schweikert has refrained from posting on social media about
12   matters that, prior to the Plain View Project investigation, he thought would be
13   permissible under Department policy as matters of public concern. For fear of disciplinary
14   action by the Phoenix Police Department, Schweikert has refrained from exercising his
15   constitutional right to comment on matters of public concern on social media.
16                               The City’s Administrative Regulation
17             60.    Defendant City of Phoenix instituted Administrative Regulation 2.38 –
18   Social Media and Networking (AR 2.38) – on or about January 12, 2015. A copy of AR
19   2.38 is attached as Exhibit 19 and incorporated as if fully set forth herein).
20             61.    Unlike the PD policy, AR 2.38 specifically contemplates that “Nothing
21   contained in this A.R. shall be construed as denying employees their civil or political
22   liberties as guaranteed by the United States and Arizona Constitutions.”
23             62.    Upon information and belief, Defendant City of Phoenix intended to revise
24   the PD policy after the implementation of AR 2.38 to ensure it met both Federal and
25   Arizona constitutional concerns, but this revision never took place.
26                                        Damages to Plaintiffs
27             63.    Plaintiffs Hernandez and Schweikert have suffered and continue to suffer
28   chilling effects on their rights to speak regarding matters of public concern.

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 1          64.    Plaintiff AZCOPS spent thousands of dollars in legal costs and fees to
 2   represent Plaintiff Hernandez in an improper internal affairs investigation that does not
 3   respect the Federal and Arizona constitutional rights of its members.
 4          65.    Plaintiffs fear that, without this Court’s intervention, Defendants will
 5   continue to inflict harm upon them by wrongfully disciplining Plaintiff Hernandez without
 6   respecting his constitutional rights to speak on matters of public concern.
 7                                            COUNT I
 8                42 U.S.C. §1983 – Violation of Federal Constitutional Rights
 9          66.    Plaintiffs reallege each and every allegation set forth in the paragraphs
10   above and incorporate each allegation by this reference.
11          67.    Plaintiffs Hernandez and Schweikert have the constitutional right to be free
12   from a deprivation of a protected interest (their rights to speak on matters of public
13   concern) without due process of law.
14          68.    The PD policy at issue is unconstitutional on its face, as it is overbroad and
15   has the purpose and effect of chilling otherwise protected speech by public employees on
16   matters of public concern, with no consideration of the balancing test required before a
17   public employer can restrict the speech of a public employee on matters of public concern.
18          69.    The PD policy at issue is unconstitutional on its face, as it is impermissibly
19   vague, and has the purpose and effect of chilling otherwise protected speech by public
20   employees on matters of public concern. Employees, and more specifically, AZCOP
21   members, reading the policy would have no discernable standard as to which posts would
22   violate the policy – resulting in a chilling effect far greater than what is permissible under
23   the United States Constitution. The Phoenix PD has issued formal warnings to several
24   AZCOPS members about their posts relating to: bible verses, “Blue Lives Matter” logos,
25   political cartoons, and even criticisms of the lack of funding to the Department—a
26   fundamental matter of public concern—among other posts, which has had a chilling effect
27   on these members (see, e.g., Exhibits 1-5; Reply Exhibit 1).
28          70.    Section 9.A.1 of Operations Order 3.27 - which states, “[e]mployees are

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 1   prohibited from using social media in a manner that would cause embarrassment or
 2   discredit the Department in any way” - is overbroad and unconstitutional.
 3          71.    Section 9.B.1 of Operations Order 3.27 - which states, “Employees are
 4   prohibited from posting on any networking or internet site any photographs, video, or
 5   audio recordings taken on Department property and/or in the performance of official
 6   duties (including official Department training, activities, or work specific assignments)
 7   that are detrimental to the mission and functions of the Department, that undermine
 8   respect or public confidence in the Department, could cause embarrassment to the
 9   Department or City, discredit the Department or City, or undermine the goals and mission
10   of the Department or City.” - is overbroad and unconstitutional.
11          72.    Section 9.B.6 of Operations Order 3.27 - which states, “Department
12   personnel are free to express themselves as private citizens on social media sites to the
13   degree that their speech does not impair working relationships of this Department, are
14   detrimental to the mission and functions of the Department, that undermine respect or
15   public confidence in the Department, cause embarrassment to the Department or City,
16   discredit the Department or City, or undermine the goals and mission of the Department
17   or City.” - is overbroad and unconstitutional.
18          73.    Section 9.B.7 of Operations Order 3.27 - which states, “Department
19   personnel may not divulge information gained while in the performance of their official
20   duties; make any statements, speeches, appearances, and endorsements where the
21   employee is acting or appearing to act in an official capacity or as an official
22   representative of the Department or City; or publish materials that could reasonably be
23   considered to represent the views or positions of this Department without express
24   authorization.” - is overbroad and unconstitutional.
25          74.    Section 9.C of Operations Order 3.27 - which states, “For safety and
26   security reasons, Department personnel are cautioned not to disclose their employment
27   with this Department. As such, Department personnel are cautioned not to:
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 1            • Display Department logos, uniforms, or similar identifying items on personal web
 2   pages.
 3            • Post personal photographs or provide similar means of personal recognition that
 4   may cause them to be identified as an employee of this Department.”
 5   - is overbroad and unconstitutional.
 6            75.   The PD policy at issue is unconstitutional as applied, as Defendant’s
 7   analysis of Plaintiff Hernandez’s posts is arbitrary, with no discernable standard as to
 8   what posts will be permitted and what could relate in discipline. The arbitrary nature of
 9   Defendants’ enforcement of the PD policy creates an impermissible chilling effect on
10   Plaintiff Hernandez’s participation in speech related to matters of public concern, and also
11   chills the participation of members of Plaintiff AZCOPS.
12            76.   Unless otherwise specified, Defendants were at all material times acting
13   under the color of law and in their capacity as officials and agents of their respective
14   government agencies.
15            77.   Defendant Williams intentionally or recklessly allowed an investigation and
16   proposed discipline action against Plaintiff Hernandez that deprived Plaintiff Hernandez
17   of the ability to contribute to conversations related to matters of public concern.
18            78.   Defendant Disotell intentionally or recklessly allowed an investigation and
19   proposed discipline action against Plaintiff Hernandez that deprived Plaintiff Hernandez
20   of the ability to contribute to conversations related to matters of public concern, and failed
21   to consider or understand the First Amendment and Arizona Constitution Art. 2 §6 right to
22   freedom of speech on matters of public concern.
23            79.   The City of Phoenix intentionally or recklessly permitted an investigation
24   against Plaintiff Hernandez without ensuring that Plaintiff Hernandez received proper
25   protections related to his rights under the United States Constitution.
26            80.   Plaintiffs Hernandez, Schweikert, and AZCOPS will face further damages
27   and chilling effects if Defendants are allowed to proceed with a Discipline Review Board
28   and continued enforcement of the PD policy.

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 1            81.   The lack of a meaningful consideration of the Federal constitutional
 2   concerns will cause actual damages to Plaintiffs in the form of time and money that will
 3   be expended to defend against a procedurally deficient process and investigative result.
 4            82.   Defendants wrongful conduct as referenced in this Complaint constitute
 5   violations of the United States Constitution including, but not limited to, Amendments I
 6   and XIV, in that Plaintiffs were deprived of privileges and immunities guaranteed to all
 7   citizens of the United States by being categorically deprived of their ability to participate
 8   in speech related to matters of pubic concern, without proper cause, with an
 9   unconstitutional motive and malice, without equal protection and without substantive and
10   procedural due process.
11            83.   Defendants’ wrongful conduct both actually and proximately caused
12   damage to Plaintiffs in the form of attorneys fees in an amount to be determined by the
13   Court.
14                                            COUNT II
15                  Arizona Constitution Art. 2, §6 and A.R.S. §38-1101 et. seq.
16            84.   Plaintiffs reallege each and every allegation set forth in the paragraphs
17   above and incorporate each allegation by this reference.
18            85.   Unless otherwise specified, Defendants Williams and Disotell were at all
19   material times acting under the color of law and in their capacity as officials and agents of
20   their respective government agencies.
21            86.   Defendants Williams and Disotell initiated and took part in the internal
22   investigation against Plaintiff Hernandez.
23            87.   The internal investigation against Plaintiff Hernandez failed to consider his
24   right to participate in speech related to matters of public concern, and contained no
25   analysis of the protections contemplated in the Arizona Constitution – particularly Art. 2
26   §6 – which states – “Every person may freely speak, write, and publish on all subjects,
27   being responsible for the abuse of that right.”
28            88.   The internal investigation against Plaintiff Hernandez seeks to sustain

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 1   discipline against him based, in part, on speech by others contained in the Plain View
 2   Project database – and not exclusively based upon the content and effect of Plaintiff
 3   Hernandez’s own postings.
 4            89.   Plaintiff Hernandez is a nonprobationary sergeant, and is entitled to the
 5   processes outlined in the Arizona Peace Officers’ Bill of Rights (A.R.S. §38-1101 et. seq).
 6            90.   Peace officers covered under the Peace Officers’ Bill of Rights may not be
 7   subject to disciplinary action except for just cause (A.R.S. §38-1103(A).
 8            91.   Just cause means the employer informed the law enforcement officer of the
 9   possible disciplinary action resulting from the officers conduct…such that the officer
10   should have reasonably known disciplinary action could occur (A.R.S. §38-1101(7)(a)).
11            92.   The disciplinary actions proposed by Defendants against Plaintiff
12   Hernandez range from a 40-hour suspension to possible termination, and are not
13   reasonably related to the seriousness of the alleged “offense” of speaking, in his private
14   capacity, on matters of public concern.
15            93.   Defendants’ wrongful conduct both actually and proximately caused
16   damage to Plaintiffs in the form of attorneys fees in an amount to be determined by the
17   Court.
18                                             COUNT III
19   42 U.S.C. §1983 and State Law – Unconstitutional and/or Unlawful Customs, Policies
20                                       and Failure to Train
21            94.   Plaintiffs reallege each and every allegation set forth in the paragraphs
22   above and incorporate each allegation by this reference.
23            95.   Unless otherwise specified, Defendants Williams and Disotell were at all
24   material times acting under the color of law and in their capacity as officials and agents of
25   their respective government agencies.
26            96.   Defendants Phoenix and Williams failed to train Defendant Disotell in the
27   appropriate, lawful and constitutional policies, procedures and protocols for investigating,
28   processing, handling and managing internal investigations under his control.

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 1            97.    Defendants Phoenix and Williams provided either no training or such
 2   inadequate training that the lack of training was the moving force behind Plaintiffs’
 3   injuries.
 4            98.    Defendants Phoenix and Williams’ failure to train Defendant Disotell
 5   amounted to a deliberate indifference to the rights of persons with whom Defendant
 6   Disotell came into contact with, including Plaintiff Hernandez.
 7            99.    Defendants’ wrongful conduct as referenced in this Complaint constitute
 8   violations of the United States Constitution and the Constitution and laws of the State of
 9   Arizona, including, but not limited to, Amendments I and XIV, and Arizona Art. 2 §6, in
10   that Plaintiffs were deprived of privileges and immunities guaranteed to all citizens of the
11   United States by being subjected to an unlawful investigation, with an unconstitutional
12   motive and malice, without equal protection and without substantive and procedural due
13   process.
14            100.   Defendants’ wrongful conduct both actually and proximately caused
15   damage to Plaintiffs in the form of attorneys fees in an amount to be determined by the
16   Court.
17                                      PRAYER FOR RELIEF
18            Plaintiffs pray for judgment against the Defendants as follows:
19            (a)    For attorneys fees arising from violations of federal constitutional rights in
20                   an amount to be determined by the Court;
21            (b)    For attorneys fees arising from violations of state constitutional and
22                   statutory rights in an amount to be determined by the Court;
23            (c)    For attorneys fees arising from unconstitutional customs, policies and failure
24                   to train in an amount to be determined by the Court;
25            (d)    General damages in an amount to be proven at trial, including but not
26                   limited to damages to reputation, emotional distress, lost profits, deprivation
27                   of constitutional rights, humiliation and attorneys’ fees;
28            (e)    Costs and attorneys’ fees as may be allowed by law and 42 U.S.C. §1988

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 1        (f)    Interim and permanent injunctive relief to remedy past violations and to
 2               prevent further violations of Plaintiffs’ rights, including the enjoining of
 3               Phoenix Police Department Operations Orders 3.27.9.A.1, 3.27.9.B.1,
 4               3.27.9.B.6, 3.27.9.B.7 and 3.27.9.C; and
 5        (g)    Such other and further relief which is just and reasonable.
 6
 7                                     NO JURY DEMAND
 8
 9        Plaintiffs request a trial by judge.
10
11
          RESPECTFULLY SUBMITTED this 23rd day of March, 2020.
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                                                 STEVEN J SERBALIK, P.L.C.
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15
16                                     By:       /s/Steven J. Serbalik
                                                 Steven J. Serbalik
17
                                                 4925 E. Desert Cove Ave #116
18                                               Scottsdale, Arizona 85254
                                                 Attorney for Plaintiffs Juan Hernandez, Mark
19                                               Schweikert and the Arizona Conference of
20                                               Police and Sheriffs, Inc.

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